                                                            Victoria Gabriela Rodriguez-Morales
                                                                             Criminal Complaint
                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 IN THE MATTER OF THE ARREST OF Case No. 23-
 VICTORIA GABRIELA RODRIGUEZ-
 MORALES                        Filed Under Seal

                            AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR AN ARREST WARRANT

       I, Kevin Vázquez, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Special Agent with the Federal Bureau of Investigation

(“FBI”) since April 2023. I am assigned to the FBI San Juan Computer Intrusion Program. I am

also temporarily assigned on a part-time basis to the FBI San Juan Violent Incident Crimes

Program. I have received training in conducting criminal and national security investigations on

a variety of federal crimes involving cyber-criminal, counterintelligence, counterterrorism, drug

trafficking and violent crime violations. I have acquired other extensive experience investigating

federal violations through my daily investigative responsibilities. Previously, I was an FBI

Intelligence Analyst from May 2019 until April 2023, during which time I worked on criminal and

national security intelligence matters for various federal violations and programs and supported

ongoing criminal and national security investigations for various federal violations and programs

to include, but not limited to, cyber-criminal, counterintelligence, violent crimes, and

counterterrorism.

       2.      I possess extensive experience in other investigative matters such as interviewing

witnesses, informants, and victims, and the execution of search warrants to collect a variety of

different types of evidence pertinent to state and federal investigations, and including the


                                                                                                1
                                                               Victoria Gabriela Rodriguez-Morales
                                                                                Criminal Complaint
preservation and processing of crime scenes, as well as physical, digital, and DNA evidence. The

facts in this affidavit are derived from my personal observations during this investigation, my

training and experience, and information obtained from other state and federal agents, witnesses,

computer scientists, and analysts, with whom I have worked and have found to be credible and

reliable. This affidavit is intended to show merely that there is sufficient probable cause for the

requested arrest warrant and does not set forth all my knowledge about the discussed matter.

        3.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of Title 18, United States Code, Sections 875(c) -

Threatening Interstate Communications - have been committed by Victoria Gabriela

RODRIGUEZ-MORALES, who is currently residing in Puerto Rico. Therefore, I respectfully

request the Court approve the submitted complaint and issue an arrest warrant for Victoria Gabriela

RODRIGUEZ-MORALES.

                                          BACKGROUND

        4.      Since 2020, the United States (through the FBI and the US Secret Service) has been

investigating a series of violent threats in violation of Title 18, United States Code Section 875(c)

- Threatening Interstate Communications - directed at public institutions, public officials, and

private citizens in Uvalde, Texas, and other Texas areas, from operator(s) in Puerto Rico.

        5.      The investigation identified the main suspect for these threatening communications

as Victoria Gabriela RODRIGUEZ-MORALES, a young female resident of Puerto Rico, who was

been previously investigated, since at least 2018, in Texas, for the same type of threats directed at

Uvalde officials, citizens, and facilities.

        6.      The investigation further revealed that RODRIGUEZ-MORALES and her mother,

V.M.H., previously resided in Uvalde, Texas. RODRIGUEZ-MORALES faced juvenile

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                                                              Victoria Gabriela Rodriguez-Morales
                                                                               Criminal Complaint
delinquency proceedings in Texas and was placed in the custody of a Juvenile Center. During her

detention, on or about 2018, she sent email threats to kill public officials, shoot schools, and kill

teachers and students. Per official documents related to the case, RODRIGUEZ-MORALES

admitted the conduct. Subsequently, as a condition for RODRIGUEZ-MORALES’ release from

juvenile supervision, on or about May of 2020, RODRIGUEZ-MORALES and family relocated

to Puerto Rico.

       7.      The pattern of threats directed at Uvalde officials and institutions continued

throughout the years 2020, 2021, 2022, and continue to take place in 2023. For example, in

September 2020, RODRIGUEZ-MORALES, using her mother’s phone number ending in 5506

and another relative’s phone ending in 9269, made repeated calls to the Uvalde Police, the Uvalde

High School, the Morales Junior High School, the Texas Public Safety Department - Texas

Rangers Uvalde, the Uvalde Fire Department, and the Uvalde High School Department of Human

Resources. She also sent threatening emails.

       8.      On May 24, 2022, a young male by the name of Salvador Ramos, shot and killed

19 students and 2 teachers at the Robb Elementary School in Uvalde, Texas. Many other victims

suffered injuries. After the massacre, public institutions and officials in Uvalde, Texas, continued

to receive threats originating in Puerto Rico. Many of the threats by RODRIGUEZ-MORALES

reference the events committed by Salvador Ramos on May 24, 2022, at Robb Elementary in

Uvalde.

       9.      At the time of the aforementioned threats, RODRIGUEZ-MORALES was still a

juvenile. As of August 2022, RODRIGUEZ-MORALES turned 18 years of age. Authorities and

individuals in Texas have continued to receive threats through emails and electronic messages that

originate in Puerto Rico.

                                                                                                   3
                                                                      Victoria Gabriela Rodriguez-Morales
                                                                                       Criminal Complaint
        10.      As detailed below, through court orders and search warrants, the FBI San Juan has

identified Victoria Gabriela RODRIGUEZ MORALES, resident of the District of Puerto Rico, as

the operator of the offending accounts.

                                           PROBABLE CAUSE

                         THREATS MADE BY INSTAGRAM ACCOUNT
                                   @PILON_GABY 1

        11.      On or about April 23, 2023, according to the Texas Department of Public Safety,

an Uvalde Leader News employee received a threat via Instagram from Instagram account

@pilon_gaby over the “Direct Message” function stating:

              a. I told Pete Arredondo weeks ago after the massacre happened I told him
                 that I was going to send someone for me to do it So you all got what y’all
                 deserved And there’s more coming So don’t prepare. 2

        12.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on May 20, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “salv_8dor (57024017115)”:

              a. @james_060703 theres no such differences. You all sane people have that
                 one fire place where you throw woods and it burns like hell. Salvador wasnt
                 alone , he just dint wait for the right time. The time i told him Were all MAD
                 HERE���. We were suposed to commit that massacre together. So
                 shut up. Cause u really dint know him…#petearredondo#.

        13.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on May 20, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “Newsradio WTAM 1100 (305642481)”:

              a. And pete arredondo was the police commissioner that got fired cause of my
                 fault and im glad he knew what was gonna happen. Pete was scared that it


1
 Third party individual accounts have been redacted by substituting * in the place of certain characters.
2
 Pete Arrendondo is the former Chief of Police of Uvalde, Texas. He was the police chief at the time Salvador Ramos
committed the Robb Elementary School massacre in Uvalde, Texas.
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                                                               Victoria Gabriela Rodriguez-Morales
                                                                                Criminal Complaint
                was going to be me when he went to Robb while the shooting, because imma
                ****and he received daily phone calls made by me so he was scared that if
                they need to get in theill have to shoot me thats why he dint though about
                breaking inside the classroom cause he dint want to hurt me I was only 17
                by the time So he dint want to kill a minor because of his sane mind
                ����������� He saw it coming

       14.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on May 21, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “City of Uvalde (47188844416)”:

             a. Y’all mother fucker will get what you deserve I will haunt everyone from
                class 2022 to 2023 Each and every single one of y’all will die in the name
                of Salvador I have a whole clown crew waiting for my signal to start the
                plan…” , “…Them kids at the Robb elementary deserved those bullets They
                deserved to die I’m glad tho That my ex could accomplish something we
                both wanted to do �� It’s lovely But the fact that more blood is going
                to be drained through my hands, it makes me horny. We are really prepared
                I have a friend that is in Arizona and if he receives shit about me he will
                shoot his high school So don’t report unles you want people to die faster
                Enjoy life while y’all can Cause mine is dedicated to killing you all…

       15.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on May 21, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “UvaldePoliceExplorers_300 (6163055823)”:

             a. pm Y’all mother fucker will get what you deserve I will haunt everyone from
                class 2022 to 2023 Each and every single one of y’all will die in the name
                of Salvador I have a whole clown crew waiting for my signal to start the
                plan…
             b. … But the fact that more blood is going to be drained through my hands, it
                makes me horny. We are really prepared I have a friend that is in Arizona
                and if he receives shit about me he will shoot his high school So don’t report
                unles you want people to die faster Enjoy life while y’all can Cause mine is
                dedicated to killing you all…

       16.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on May 21, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “Texas Children's Hospital (3628729)”:
                                                                                                 5
                                                               Victoria Gabriela Rodriguez-Morales
                                                                                Criminal Complaint
             a. Your childrens hospital may blow in pieces If yall dont do as i say”.

       17.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on May 22, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “Uvalde Radio (6003953006)”:

             a. Pete Arredondo thought he had it but look how he ended, being hated by
                everyone. That how i wanted to destroy him. Pete didnt listen to me and i
                told him i was going to send domeone to shoot theirs school only at uvalde
                but he said “ yeah come and proove it” so i sended salvador my ex boyfriend
                to shoot a school from uvalde. He dint wait for me so he did the Robb
                elementary by himself. Sadly he got killed… We Clowns will shoot uvalde
                high school and blow up memorial hospital. When????? Its gonna be
                surprise

       18.      On or about June 5, 2023, an Uvalde Police Department Detective informed that a

citizen of Dilley, Texas, reported receiving threats on Instagram from the account @pilon_gaby,

to include, but not limited to statements such as:

             a. …Me and Salvador planned this massacre…
             b. …Uvalde high school is next for 2024 I can’t wait to get more blood in my
                hands…
             c. ...The new school in construction is going to be blowed up by c4…
             d. I will haunt everyone from class 2022 to 2023 Each and every single one of
                y’all will die in the name of Salvador I have a whole crew waiting for my
                signal to start the plan we have…
             e. …I have a friend that is in Arizona and if he receives shit about me he will
                shoot his high school So don’t report unless you want people to die faster…
             f. He though I was joking And then boom all the little losers souls die and
                went to their little so far called heaven I pray for them to be in the burning
                hell…
             g. …I’ll be waiting for your response [devil emoji]

       19.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, between June 6, 2023, and June 8, 2023, @pilon_gaby exchanged Direct Messages

with Instagram account @y*l*v*li*e, in which the following messages (not all inclusive) were

sent by the Instagram account @pilon_gaby:


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                                                            Victoria Gabriela Rodriguez-Morales
                                                                             Criminal Complaint
             a. They wer meant to die” + “Lovely they diedI’m glad some of their blood
                runs in my hands Me and Salvador wanted to do this together but he don’t
                wait for me to comeAnyways more kids will die and teens so don’t cry about
                this one cause there’s worse coming
             b. …mfks more kids will die in my hands I got 46 more people
             c. I will shoot Uvalde high school and Jr high

       20.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, between June 9, 2023, and June 12, 2023, @pilon_gaby exchanged Direct Messages

with Instagram account @ei**e*y, in which the following messages (not all inclusive) were sent

by the Instagram account @pilon_gaby:

             a. yo kids will die you mfk
             b. And go suck mu gun bitch
             c. Wanna know my little secret?” + “I have like 46 people ready for this
                massacre
             d. I will kill ual mfk and cops n shit.
             e. And if you keep texting me I will find ir ip adress” + “And kill u
             f. I have lots of guns ready to play” + “Uvalde already has fallen
             g. Imma kill more kids at the new school they’re constructing
             h. Then good that their dead” + “And don’t text me anymore if you don’t want
                anymore dead
             i. imma shoot y’all new elementary school
             j. you’ll see me when I put a bullet between your eyes
             k. I will blow your head up
             l. Ill find you and kill u




       21.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, between June 13, 2023, and June 14, 2023, @pilon_gaby exchanged Direct

Messages with Instagram account @ut*.b**le, in which the following messages (not all inclusive)

were sent by the Instagram account @pilon_gaby:

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                                                                          Victoria Gabriela Rodriguez-Morales
                                                                                           Criminal Complaint
                 a. Just don’t get on my way and you will not suffer
                 b. imma shoot up the new elementary and the high school + And if you don’t
                    want to be part of it Stop whatever your dealing with and keep it quiet
                 c. Your friends messed messed up with me
                 d. so theyre paying for everything by getting killed
                 e. “you back the hell off before I get there and bring my .40”. 3
                 f. it wasn’t cause by bf died” in reply to:
                         i. @ut*.b**le “you may think the may 24 was funny but it’s not”
                 g. I will kill all them mfk that are on uvalde high school and the new
                    elementary that they are building




           22.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on June 8, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “New York Post (225193095)”:

                 a. “Lovely they died I’m glad some of their blood runs in my hands Me and
                    salvador wanted to do this together but he did not wait for me to come
                    Anyways more kids will die and teens so don’t cry about this one cause
                    there’s worse coming”.

           23.      Per Meta Platforms search warrant returns for Instagram account @pilon_gaby, on

May 22, 2023, Instagram user @pilon_gaby commented the following on an Instagram post by

“Uvalde Highschool Cuties � (50719647216)”:

                 a. I kill yall next year at uhs




3
    The term “.40” is known to be used to describe the caliber of ammunition a specific firearm can fire.
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                                                               Victoria Gabriela Rodriguez-Morales
                                                                                Criminal Complaint
        24.      Per Meta Platforms federal search warrant returns for Instagram account

@pilon_gaby, on June 8, 2023, Instagram user @pilon_gaby commented the following on an

Instagram post by “In Peace Portraits (7871817773)”:

              a. @in_peace_portraits yo yo the fuck i say what i want to say these are my
                 fucking real words And im getting rid of people like you and their kid so
                 whats up huh whats up. If i say i will shoot uvalde high school and morales
                 jr high i will mfk

THREATS MADE BY FACEBOOK, GMAIL, AND OTHER ASSOCIATED ACCOUNTS

        25.      On September 24, 2023, Uvalde Consolidated Independent School District (CISD)

received a threat to life from email schoolshooter893@gmail.com to webmaster@uvaldecisd.net,

indicating intentions to shoot and blow-up Uvalde Texas high school and Texas A&M college, as

well as kill civilians. The message stated:

              a. We will kill each and every one of you We will shoot and blow up Uvalde
                 Texas high school and Texas A&M college…
              b. …we will kill every single civilian that lives at Uvalde at one night using
                 bombs…

        26.      Between approximately September 24, 2023, and September 28, 2023, email

address schoolshooter7878@gmail.com sent the following messages, among others, to Uvalde

CISD:

              a. I’m sorry but it’s to late Imma do what I gotta do You can’t do none me
                 being here And I don’t want help This is gonna happen no matter what You
                 stopping me or not
              b. I told Pete days before the school shooting I called him and told him what
                 was going to happen 4 days before the massacre And look what happened
                 So it isn’t what it is
              c. This shit will happen unless you hand over $830,000 cash I’m dead serious
                 None of that shit that this is not credible yada yada Hand ‘’em over and I’ll
                 stop myself and the other people
              d. I got my aks and Ars15 ready over ther…
              e. Here’s my telegram + Caribeglock



                                                                                                 9
                                                                       Victoria Gabriela Rodriguez-Morales
                                                                                        Criminal Complaint
               f. Ohh can I tell you that there will be bombs at the uvalde memorial hospital
                  + O shit I just spoiled one of them surprises + Nah but if you don’t try
                  anything stupid we will
               g. My name is Victoria + What’s up?
               h. Look I have killed before + The kid that went missing here in Puerto Rico
                  + What’s his name again Victor + Yeah I picked him up from school and
                  killed him
               i. Me and Salvador Ramos planned this a long time ago Still he didn’t wait
                  for me But hey at least some of them kids runs in my hands I don’t feel guilt
                  at all
               j. Im even thinking to do the same in my college

         27.      On October 2, 2023, the FBI National Threat Operations Center received a

complaint from K.Y., who while watching a streaming session on Kick.com, witnessed another

user of the Kick platform with username “shooter_2022”, enter the chat room and post “We will

shoot Uvalde Texas high school and Texas A&M college.”

         28.      On October 2, 2023, an Emergency Disclosure Request was issued to Kick.com

regarding the threat to Uvalde, Texas high school and Texas A&M college through their support

email addresses. Kick.com responded stating that the subject who made the threat used the email

twqt5ws7qj@privaterelay.appleid.com and accessed their website on October 2, 2023. 4 The

private relay twqt5ws7qj@privaterelay.appleid.com was linked to telephone number (939) ***-

3263 and email address felipe.o*******@icloud.com in Emergency Disclosure returns from

Apple.

         29.      On October 3, 2023, Kick’s Legal Team informed they suspected the subject that

posted the threats on October 2, 2023, created an alternate account through Google with the

Kick.com username “killer_22”, and email: schoolshooter7878@gmail.com. Killer_22 posted




4
 “Private Relay” is an Apple iCloud service meant to conceal the true identity of a user during web browsing
sessions.

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                                                                          Victoria Gabriela Rodriguez-Morales
                                                                                           Criminal Complaint
“We will shoot Uvalde Texas high school and Texas A&M college” and “those are the guns imma

use there”. Both Kick accounts posted the same threatening message verbatim, to include the same

formatting. Kick.com also informed that they subsequently banned both Kick accounts that made

the threats for violations to their Terms of Service and Community Guidelines. An email found in

search warrant returns from Gmail, sent to schoolshooter7878@gmail.com from no-

reply@kick.live, dated October 3, 2023, advised account “Killer_22” that their Kick.com account

was suspended due to a beach of terms of service.

           30.      On October 12, 2023, the Uvalde Police Department and Uvalde Leader News

received threats via Meta Platform’s Facebook Messenger from screen name “Gabriela Morales”,

account number 61552295398566. Per Texas authorities, the threat to Uvalde Police Department

stated, “We will shoot Uvalde Texas high school” and the threat to Uvalde Leader News stated,

“we will kill every citizen that lives in Uvalde, Texas”.

           31.      On October 13, 2023, Meta Platforms generated returns of subscriber information

for Facebook account 61552295398566, screen name “Gabriela Morales”, which included the

phone number (939) ***-3263 as being associated to the account and “verified”. 5 The subscriber

information also included the email schoolshooter7878@gmail.com, previously associated to

other threats made on other online platforms.

           32.      On October 25, 2023, Uvalde, Texas’ City Hall received a threat by email from

schoolshooter7878@gmail.com with the subject “Fwd: Stay away if you don’t want to die”. The

content of the message included several threats such as:

                 a. Imma stop threatening … and start to take action of my sayings…
                 b. …They will shoot Uvalde high school and morales jr high whenever I tell
                    ‘em So yeah the persecution is gonna start today…

5
    Per Meta Platforms, “Verified” indicates the account holder responded to a text sent to the listed phone number.
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                                                                      Victoria Gabriela Rodriguez-Morales
                                                                                       Criminal Complaint
              c. Can’t wait to see you on the news and all them parents crying for their
                 “poor little teens

        33.      On October 25, 2023, schoolshooter7878@gmail.com sent an email to

*g*ti**r*z*2*8@uvaldecisd.net with the following content:

              a. If Mata Rubio wins the elections I will kill her 6




        34.      On October 28, 2023, Facebook account 61552295398566, with display name

“Gabriela Morales”, previously linked to (939) ***-3263, made a threat on a Zavala County

Sheriff’s Office Facebook page post stating:

              a. We will shoot uvalde texas high school…
              b. …Me and Salvador wanted to kill ‘em kids together…
              c. …So yeah I’m planning the best of all…




6
  Mata Rubio likely refers to Kimberly Mata-Rubio, who according to open-source reporting, her daughter was killed
in the Uvalde, Texas, shooting at Robb Elementary, and was running for office to become mayor of Uvalde.
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                                                              Victoria Gabriela Rodriguez-Morales
                                                                               Criminal Complaint


       35.      Facebook account 61552295398566, with display name “Gabriela Morales” also

identifies on the Facebook page as “SchoolShooter”.

       36.      Pursuant to a federal search warrant, the FBI reviewed the contents of Google email

accounts schoolshooter7878@gmail.com and schoolshooter893@gmail.com.

       37.      The following emails containing threats of violence were found within

schoolshooter7878@gmail.com Google search warrant returns:

             a. Email   from    schoolshooter7878@gmail.com         to   cityhall@uvaldetx.gov   on

                September 30, 2023, with content:

                    i. I got my aks and ARs15 ready over there and over here and some
                       people Me and Salvador Ramos planned the massacre a long time
                       ago Still he didn't wait for me But hey at least some of them kids
                       blood runs in my hands I don't feel guilt at all But yeah We will shoot
                       Uvalde Texas high school an Texas A&M college This shit will
                       happen even if I die Ask Pete Arrendondo 4 days before sal going
                       out crazy without me I called Pete and told him what was gonna
                       happen But he insisted on telling me that I wasn't credible enough
                       so I took the next step and told Salvador Salvador got mad and acted
                       out So if y'all mfk don't do whatever I say All the citizens of Uvalde
                       Texas will be slaughtered and killed on my name That's all folks

             b. Email from schoolshooter7878@gmail.com to ke***pe**ey@aseschool.org on

                October 1, 2023, with subject line "Shoot up a school" and content:

                    i. I got my aks and ARs15 ready over there and over here and some
                       people Me and Salvador Ramos planned the massacre a long time
                       ago Still he didn't wait for me But hey at least some of them kids
                       blood runs in my hands I don't feel guilt at all But yeah We will shoot
                       Uvalde Texas high school an Texas A&M college This shit will
                       happen even if I die Ask Pete Arrendondo 4 days before sal going
                       out crazy without me I called Pete and told him what was gonna
                       happen But he insisted on telling me that I wasn't credible enough
                       so I took the next step and told Salvador Salvador got mad and acted
                       out So if y'all mfk don't do whatever I say All the citizens of Uvalde
                       Texas will be slaughtered and killed on my name That's all folks Ohh
                       and I'll shoot up your schools too..

                                                                                                 13
                                                             Victoria Gabriela Rodriguez-Morales
                                                                              Criminal Complaint


            c. Email from schoolshooter7878@gmail.com to *ahe**a**ez@cityofpearsall.org on

               October 1, 2023, with subject line "Shoot up a school" and with content:

                   i. I got my aks and ARs15 ready over there and over here and some
                      people Me and Salvador Ramos planned the massacre a long time
                      ago Still he didn't wait for me But hey at least some of them kids
                      blood runs in my hands I don't feel guilt at all But yeah We will shoot
                      Uvalde Texas high school an Texas A&M college This shit will
                      happen even if I die Ask Pete Arrendondo 4 days before sal going
                      out crazy without me I called Pete and told him what was gonna
                      happen But he insisted on telling me that I wasn't credible enough
                      so I took the next step and told Salvador Salvador got mad and acted
                      out So if y'all mfk don't do whatever I say All the citizens of Uvalde
                      Texas will be slaughtered and killed on my name That's all folks

            d. Email from schoolshooter7878@gmail.com to *g**ie**ez@uvaldecisd.net on

               October 27, 2023, with subject line "Re: Stay away if you don't want to die" and

               content:

                   i. Imma stop threatening and opening my thoughts and start to take
                      action of my sayings I won't regret nothing that happens over there
                      They will shoot uvalde high school and morales jr high whenever I
                      tell 'em So yeah the persecution is gonna start today I already got
                      pictures of the inside of both schools Sending them to my people so
                      they can take the next step which is get prepared They are like 56
                      people that will get both of them schools See you on the news "chief
                      Josh" Don't worry none of them adults will get hurt if they don't
                      intervene with them Which is also counting you You are brave but
                      you underestimate me too much so not sorry for all the losses that
                      y'all can have during 202# Lime I said I won't say the time nor the
                      date But it will be pretty soon Can't wait to see you on the news and
                      all them parents crying for their "poor little teens"

      38.      The following email content containing threats of violence was found within

schoolshooter893@gmail.com search warrant returns:

            a. Email from schoolshooter893@gmail.com to Webmaster@uvaldecisd.net on

               September 24, 2023, with subject line "Kill you all" and content:


                                                                                                14
                                                                          Victoria Gabriela Rodriguez-Morales
                                                                                           Criminal Complaint
                         i. We will kill each and every one of you We will shoot and blow up
                            Uvalde Texas high school and Texas A&amp;M college Don’t try
                            me I got people there that will help me do that shit I don’t regret for
                            a second the plan that I did with Salvador Ramos I’m glad that some
                            of them kids blood runs in my hands We planned whenever I was
                            there But he couldn’t wait for me So if we don’t get to do this we
                            will kill every single civilian that lives at uvalde at one night using
                            bombs See y’all really soon We’ve planned this for a while so don’t
                            mind on getting prepared cause we’re even more���

                 b. Email from schoolshooter893@gmail.com to Webmaster@uvaldecisd.net and cc

                    to Cityhall@uvaldetx.gov on September 24, 2023, with subject line "Kill you all"

                    and content:

                         i. We will kill each and every one of you We will shoot and blow up
                            Uvalde Texas high school and Texas A&amp;M college Don’t try
                            me I got people there that will help me do that shit I don’t regret for
                            a second the plan that I did with Salvador Ramos I’m glad that some
                            of them kids blood runs in my hands We planned whenever I was
                            there But he couldn’t wait for me So if we don’t get to do this we
                            will kill every single civilian that lives at uvalde at one night using
                            bombs See y’all really soon We’ve planned this for a while so don’t
                            m
                        RODRIGUEZ-MORALES’ LINK TO THE ACCOUNTS

           39.      Per Meta Platforms returns, Instagram account @pilon_gaby’s subscriber

information included the phone number (939) ***-3263 as being associated to the account

username handle @pilon_gaby. The same was true for Facebook account 61552295398566, which

also had phone number (939) ***-3263 on the account. The phone number was “verified” on both

accounts. 7




7
    Per Meta Platforms, “Verified” indicates the account holder responded to a text sent to the listed phone number.
                                                                                                                       15
                                                                 Victoria Gabriela Rodriguez-Morales
                                                                                  Criminal Complaint
           40.      On June 5, 2023, Instagram account @pilon_gaby direct messaged Instagram

account @t*d_d**g*0*2*_p* a message with the content “Mera llámame En el 939-***-3263”,

which summary translates into English as “Hey, call me at 939-***-3263”.

           41.      Per Meta Platforms returns for Instagram account @pilon_gaby, the following

messages were identified containing indications that Victoria RODRIGUEZ-MORALES was the

user of the Instagram account @pilon_gaby, when considered among other investigative

information:

                 a. On May 1, 2023, Instagram account @pilon_gaby direct messaged

                    Instagram account @*o*t*l*o_*e**da* a message stating, “Hola es

                    Victoria” and “Espero que estés bien”, which summary translates into

                    English as “Hi it’s Victoria” and “I hope you are well”.

                 b. On May 10, 2023, Instagram account @pilon_gaby direct messaged

                    Instagram account @sm**e*n*el.* a message stating, “Se parece a ti

                    jajajaEs Vicky”, which summary translates into English as “It looks like you

                    hahaha it’s Vicky”. 8 On the same day, @pilon_gaby direct messaged

                    Instagram account @br**it*n*u*n**na a message stating, “Es Vicky

                    pendejo”, which summary translates into English as “It’s Vicky dumbass”.

                 c. On May 26, 2023, another Instagram account, @pi**n_fi**st, direct

                    messaged Instagram account @pilon_gaby a message stating “Vicky” and

                    “Tu vas a comprar el 100?”, which summary translates into English as

                    “Vicky, are you going to buy the 100?”.




8
    “Vicky” is a commonly used nickname for Victoria.
                                                                                                   16
                                                                           Victoria Gabriela Rodriguez-Morales
                                                                                            Criminal Complaint
               d. Instagram account @pi**n_fi**st was identified in returns for Instagram

                  accounts @pilon_gaby and @caribeglock_04 as a common link between

                  the accounts. In direct messaging, @pi**n_fi**st refers to both accounts,

                  @pilon_gaby and @caribeglock_04, by “Vicky” and “Victoria” on multiple

                  occasions.

         42.      Per Meta Platforms returns, Instagram Account @pilon_gaby was accessed by the

Device Type: UUID Id: 5E8181B1-9AEB-4600-A04E-1F2EF8E05501. Per the same search

warrant returns, the same device Id accessed Instagram account User: 62059466523. The account

identifier for unique ID 62059466523 (at the time the warrant was serviced) 9 was

@caribeglock_04. Because the same device was used to access Instagram account @pilon_gaby

and Instagram Account @caribeglock_04, it can be inferred that the two accounts share the same

operator.

         43.      On November 2, 2023, the FBI accessed the public (at the time of access) 10

Instagram account @caribeglock_04. Within the “Highlights” of Instagram account

@caribeglock_04, were photos and videos of Victoria Gabriela RODRIGUEZ-MORALES to

include videos and photos taken in a “selfie” manner, indicating they were likely captured and

shared by Victoria Gabriela Rodriguez Morales.

         44.      Per Meta Platforms returns, in response to a federal search warrant for Instagram

account @caribeglock_04, the following messages were identified:




9
   While Instagram username handles in the format “@username” can be changed by the account operator, the
numerical Unique ID tied to the account by Instagram will remain the same regardless of the username handle chosen.
10
   Instagram account operators can adjust privacy settings in their account that restrict viewing of their posts, stories,
and highlights, to approved followers only, or followers that were already approved at the time of toggling a “private”
account status. An account can be made “public”, making it accessible to all users that are not blocked by the account,
or “private”, which will restrict account content to be viewable only by approved followers.
                                                                                                                      17
                                                 Victoria Gabriela Rodriguez-Morales
                                                                  Criminal Complaint
a. On October 28, 2023, Instagram account @caribeglock_04 direct messaged

   Instagram account @n_o*********t_o a message stating, “VR”, in

   response to a message from @n_o*********t_o asking, “Como es que te

   llamas?”, which translates into English as “What is your name?”. Instagram

   account   @n_o*********t_o        then    asked   “Victoria?”    to   which

   @caribeglock_04 responded “Victoria Sssiiiii [facepalm emoji]”, which

   summary translates into English as “Victoria, yes”.

b. On the same day, @caribeglock_04 sent @n_o*********t_o a message

   that stated, “Te wa dar mi número pq aveces borro Instagram pq mami no

   sabe que lo tengo”, which summary translates into English as “I’m going to

   give you my number because sometimes I delete Instagram because my

   mom doesn’t know I have it”. A follow-up message then read “939-***-

   3263”. On the same day, @caribeglock_04 sent a photo through direct

   message to @n_o*********t_o, which shows Victoria Rodriguez Morales

   taking a picture with the front camera of a phone, capturing half of her face

   and a mirror behind her, which shows a reflection of Victoria Rodriguez

   Morales holding the phone and taking the picture in a “selfie” manner.




                                                                                   18
                                               Victoria Gabriela Rodriguez-Morales
                                                                Criminal Complaint




c. On the same day, @caribeglock_04 sent a photo through direct message to

   @n_o*********t_o of a female, identified as Victoria, kissing a male on

   the cheek. She then sent a message that states “Buste ese es mi primo”,

   which summary translates in English into “Just kidding, that’s my cousin”.

   Before this message, @caribeglock_04 had messaged that she would send

   a photo to @n_o*********t_o of the love of her life.




                                                                                19
                                                            Victoria Gabriela Rodriguez-Morales
                                                                             Criminal Complaint




             d. On November 2, 2023, Instagram account @pi**n_fi**st direct messaged

                Instagram account @caribeglock_04 a message stating “Y yo me acabo de

                levantar Victoria”, which summary translate into English as “and I just

                woke up Victoria”.

       45.      In light of both Instagram account’s apparent use of the same phone number and

device, as well as the common @pi**n_fi**st contact and being referred to by the @pi**n_fi**st

account by the same names, “Vicky” and “Victoria”, as well as the photos of Victoria on account

@caribeglock_04, your affiant concluded that the two accounts share the same operator:

RODRIGUEZ-MORALES.

       46.      Moreover, per Meta Platforms returns, a registered email for the Instagram account

@caribeglock_04 is vrodriguez444@email.*****.edu. Open-source searches revealed the domain




                                                                                               20
                                                                      Victoria Gabriela Rodriguez-Morales
                                                                                       Criminal Complaint
corresponds to UNIVERSITY A 11’s e-mail system. FBI surveillance conducted in November

2023, confirmed Victoria Gabriela RODRIGUEZ-MORALES studies at UNIVERSITY A.

           47.       In response to a federal court order, UNIVERSITY A confirmed that the email

account vrodriguez444@email.*****.edu (tied to phone number (939) ***-3263 in Uber and to

Instagram account @pilon_gaby per Meta Platforms) belongs to one of their students by the name

of Victoria RODRIGUEZ MORALES, date of birth August X, 2004, phone numbers (939) ***-

4130 and (939) ***-3263 (used for multi-factor authentication method), personal email

vrodriguezmorales@*****.com, and listed address in Adjuntas, Puerto Rico. Additionally,

UNIVERSITY A confirmed that the email vrodriguez444@email.*****.edu was accessed by an

iOS device. The listed address is the same address present on RODRIGUEZ-MORALES’ mother’s

Driver’s License record.

           48.       Between November 2, 2023, and November 6, 2023, the FBI conducted a review

of the search warrant return contents of Gmail account schoolshooter7878@gmail.com. Within

the      contents,     the   FBI     identified    an   email     from     “CallerSmart”,      email   address

feedback@callersmartemail.com, with subject line “(939) ***-3263 Claimed: Welcome to Our

Community Phone Book” along with the content “Welcome to CallerSmart School. Thank you for

taking charge of (939) ***-3263!…”. The email received indicates a link between the operator of

schoolshooter7878@gmail.com email account, a CallerSmart account, and the phone number

(939) ***-3263, linked to Victoria Gabriela RODRIGUEZ-MORALES’ UNIVERSITY A email

account.




11
     UNIVERSITY A is a higher-education institution with several campuses throughout Puerto Rico.

                                                                                                           21
                                                                        Victoria Gabriela Rodriguez-Morales
                                                                                         Criminal Complaint
         49.      On September 28, 2023, schoolshooter7878@gmail.com received from Instagram

<no-reply@mail.instagram.com> an email addressed to the operator of Instagram account

@caribeglock_04, with subject line "Tu código de confirmación de correo electrónico". A

summary translation for the email subject line is "Your email address confirmation code". 12 At the

bottom of the email, a notice reads "Este mensaje se envió a schoolshooter7878@gmail.com y está

dirigido a caribeglock_04.", which summary translates into "This message was sent to

schoolshooter7878@gmail.com and is directed to caribeglock_04.", indicating the operator of

schoolshooter7878@gmail.com is also the operator of Instagram account @caribeglock_04.

         50.      On September 28, 2023, schoolshooter7878@gmail.com received from Instagram

<no-reply@mail.instagram.com> an email addressed to the operator of Instagram account

@caribeglock_04, with subject line "Vuelves a tener acceso a Instagram, caribeglock_04". A

summary translation for the aforementioned email subject line is "You have access to Instagram

again, caribeglock_04". At the bottom of the email, a notice reads "Este mensaje se envió a

schoolshooter7878@gmail.com y está dirigido a caribeglock_04.", which summary translates into

"This message was sent to schoolshooter7878@gmail.com and is directed to caribeglock_04.".

The email also includes a link to initiate an Instagram login for @caribeglock_04, indicating the

operator of schoolshooter7878@gmail.com is also the operator of Instagram Account

@caribeglock_04.




12
  A confirmation code is provided by many online platforms to account operators who choose to do so. The code can
be received at an email or phone the account operator adds to their account, so that they can access the account after
verifying their identity with the code as an extra layer of security.
                                                                                                                  22
                                                                        Victoria Gabriela Rodriguez-Morales
                                                                                         Criminal Complaint
         51.      On October 2, 2023, schoolshooter7878@gmail.com received from Kick

<noreply@email.kick.com> an email with subject line "112436 - Sign Up Verification Code". 13

On October 3, 2023, schoolshooter7878@gmail.com received from Kick <no-reply@kick.live>

an email, addressed to account "Killer_22", with subject line "Your Kick account has been

suspended" and content indicating "Your account has been temporarily suspended due to a breach

of terms of service.". The username “Killer_22” was previously used to make threats on Kick.com.

         52.      On October 12, 2023, the Gmail account schoolshooter7878@gmail.com was

linked to a Google search query for UNIVERSITY A’s portal. This Google search query would

lead to results for UNIVERSITY A, some of which would allow a student’s accounts to be

accessed. Many universities and schools provide online platforms for students to conduct actions

related to schooling such as, but not limited to, sending, and receiving emails, checking grades,

enrolling in courses, making payments, and / or downloading and submitting assignments.

         53.      The review of the records revealed that Instagram account @pilon_gaby, Facebook

account 61552295398566, Gmail account schoolshooter7878@gmail.com, all of which were used

to communicate threats to injure in interstate commerce, are tied to phone number (939) ***-3263.

The same number is tied to, and used to verify, RODRIGUEZ-MORALES’s email at

UNIVERSITY A.

         54.      On October 16, 2023, Claro Puerto Rico provided subscriber information for phone

number (939) ***-3263. The phone number is subscribed to C.G.N. C.G.N. has been identified as




13
  Online platforms can request a user provide a phone or email address to receive a verification code to confirm the
user is a human, or that they are in control of the email or phone number provided for signing up on their platform.

                                                                                                                  23
                                                           Victoria Gabriela Rodriguez-Morales
                                                                            Criminal Complaint
the godmother of Victoria Gabriela RODRIGUEZ-MORALES. The phone number (939) ***-

3263, per Claro Puerto Rico, has been in service since December 2022.

       55.    A review of the records for (939) ***-3263 also revealed that it made several calls

to Uvalde Area Code (830), and two frequently called numbers are tied to RODRIGUEZ-

MORALES’s mother (V.M.H). Specifically, number 939-***-5506 is registered to V.M.H. per

Claro records obtained in 2020 and telephone number (939) ***-4130 is listed on V.M.H.’s

driver’s license and on RODRIGUEZ-MORALES’s identification card from the Government of

Puerto Rico. One of the (830) area code numbers called, (830) 278-9147, was the phone number

for the City of Uvalde Police Department.

       56.    Per Meta Platforms returns in response to a search warrant for Instagram account

@caribeglock_04, on October 27, 2023, Instagram account @n_o*********t_o direct messaged

@caribeglock_04 asking “Y en donde tú estudias?”, which translates into English as “And where

do you study?”. Instagram account @caribeglock_04 replied with the name and location of

UNIVERSITY A. FBI surveillance conducted in November 2023, confirmed Victoria Gabriela

RODRIGUEZ-MORALES studies at the mentioned location of UNIVERSITY A. During

surveillance, RODRIGUEZ-MORALES was in possession of a cellphone.

       57.    Per Uber Technologies, Inc. (“Uber”, the rideshare application) phone number

(939) ***-3263 is tied to an Uber account that was created on August 11, 2023, and is associated

to email address vrodriguez444@email.*****.edu, corroborating that the user of (939) ***-3263

is RODRIGUEZ-MORALES, a student at UNIVERSITY A.

       58.    The phone number (939) ***-3263 was determined to be linked to an Apple device

through an iMessage Query conducted on another iMessage capable device. iMessage is a function

available on Apple devices using Apple Operating Systems (OS) such as MacOS, iOS, iPadOS,

                                                                                              24
                                                            Victoria Gabriela Rodriguez-Morales
                                                                             Criminal Complaint
and watchOS. Per an Apple return, the phone number is linked to iCloud account

felipe.o*******@iCloud.com,         as     well      as     the     Apple      Private      Relay

twqt5ws7qj@privaterelay.appleid.com, which had been previously used to access the platform

Kick.com and make threats on October 2, 2023. Felipe O******* (name on the iCloud email) is

the name of RODRIGUEZ-MORALES’ stepfather. Also present on the iCloud return, is the name

of RODRIGUEZ-MORALES’ mother, V.M.H.

       59.     Apple Search Warrant returns for iCloud account felipe.o*******@icloud.com

contained multiple documents addressed to RODRIGUEZ-MORALES including her name, social

security number, and other personally identifying information. This included acceptance letters to

UNIVERSITY A for the 2023-2024 school year, as well as scheduling documents for classes at

UNIVERSITY A. Additionally, the iCloud account contained multiple photos of RODRIGUEZ-

MORALES in different settings, with many taken as a “Selfie”, she is depicted alone and with

family members or friends, indicating she captured the photos herself. This further solidifies the

link between the phone number (939) ***-3263, iCloud account felipe.o*******@icloud.com,

and RODRIGUEZ-MORALES.

       60.     Based on the above, your affiant has probable cause to believe that Victoria

Gabriela RODRIGUEZ-MORALES is the operator of Instagram account @pilon_gaby, Facebook

account Gabriela Morales (61552295398566), Gmail account schoolshooter7878@gmail.com,

Gmail account schoolshooter893@gmail.com; the twqt5ws7qj@privaterelay.appleid.com Apple

private relay address, an Apple device associated to phone number (939) ***-3263, email address

vrodriguez444@email.*****.edu, Kick.com account shooter_2022, and Kick.com account

killer_22, all of which were used to transmit threatening communications in interstate commerce.



                                                                                               25
                                                               Victoria Gabriela Rodriguez-Morales
                                                                                 Criminal Complaint

                                         CONCLUSION

        61.    Based on the forgoing, there is probable cause to believe that, from on or about

April 23, 2023 until on or about October 2023, Victoria Gabriela RODRIGUEZ-MORALES,

while residing and operating in the Commonwealth of Puerto Rico, knowingly and wittingly made

threats of death or serious physical injury against public institutions, public officials, and private

citizens in the state of Texas, in violation of Title 18, United States Code, Section 87S(c)

(Threatening Interstate Communications).


       62.     I declare under penalty of perjury and in good faith that the foregoing statements

are true and correct to the best of my knowledge this __     of November of 2023.




                                                            ~-~'+-.,~
                                                                   r
                                                              Kevin . Vazquez
                                                              Special Agent
                                                                                                         0
                                                              Federal Bureau of Investigation

Sworn pursuant to FRCP 4.1 at                by telephone this _     day of November 2023 in San

Juan, Puerto Rico.




Marshal Morgan
United States Magistrate Judge
District of Puerto Rico




                                                                                                   26
